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                                                                                         FILED

                       IN THE UNITED STATES DISTRICT COURT                             AUG 2 I 2018
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division                              clerk. u.s. district court
                                                                                        NORFOLK. VA



 DEARNTA LAVON THOMAS,

                       Petitioner,

 V.                                                   CRIMINAL ACTION NO. 2:llcr58


 UNITED STATES OF AMERICA,

                       Respondent.

                          MEMORANDUM OPINION AND ORDER

        Before the Court is Deamta Lavon Thomas's ("Petitioner") pro se Motion to Vacate, Set

 Aside, or Correct his Sentence, pursuant to Title 28, United States Code, Section 2255 ("§ 2255

 Motion"). ECF No. 590. Having thoroughly reviewed the motions, filings, and records in this

 case, the Court finds that no hearing is necessary to address Petitioner's Motion. For the reasons

 set forth below. Petitioner's § 2255 Motion is DENIED.

                        I. FACTUAL AND PROCEDURAL HISTORY

        On April 8, 2011, a Grand Jury in Eastern District of Virginia returned a fifty-nine count

 Indictment against Petitioner and ten co-defendants. ECF No. 3. Petitioner was named in

 Counts One through Eight, Counts Twelve through Seventeen, and Count Fifty-Eight. Id. at 1.

 Count One charged Petitioner with R.I.C.O., in violation of 18 U.S.C. § 1962(c). Id. Count Two

 charged Petitioner with R.I.C.O. Conspiracy, in violation of 18 U.S.C. § 1962(d). Id. Counts

 Three, Six, Twelve, and Sixteen charged Petitioner with aiding and abetting Assault with a

 Dangerous Weapon in Aid of Racketeering Activity, in violation of 18 U.S.C. § 1959(a)(3). Id.

 Counts Fourteen and Fifteen charged Petitioner with Attempted Murder in Aid of Racketeering



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